AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Jeffrey J. Hale, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant
under Federal Rule of Criminal Procedure 41 to authorize law enforcement to
employ an electronic investigative technique further described in Attachment B, in
order to identify the cellular devices carried by LOUIS PEREZ III (the “Target
Cellular Devices”), described in Attachment A.

2. I am a state certified law enforcement officer employed as a Special
Agent with the Wisconsin Department of Justice, Division of Criminal Investigation
(DCD and have been a sworn officer in the State of Wisconsin for approximately 24

years. I am currently assigned to the North Central High Intensity Drug

Force Officer with the United States Department of Justice, Drug Enforcement

Administration (DEA). As such, I am in an investigative or law enforcement officer

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States Code, in that I am empowered by law to conduct investigations of and to
make arrests for federal felony offenses.

3. I have participated in numerous complex narcotics investigations that
involved violations of state and federal controlled substances laws and money

laundering laws including Title 21, United States Code, Sections 841(a)(1), 843(b)

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and 846, and Title 18, United States Code, Sections 1956 and 1957, and other
related offenses. I have had both formal training and have participated in numerous
complex drug trafficking investigations, including ones using wiretaps. More
specifically, my training and experience includes the following:

a. I have utilized informants to investigate drug trafficking.
Through informant interviews, and extensive debriefings of individuals involved in
drug trafficking, I have learned about the manner in which individuals and
organizations distribute controlled substances in Wisconsin and throughout the
United States;

b. I have also relied upon informants to obtain controlled
substances from dealers, and have made undercover purchases of controlled
substances;

c. I have extensive experience conducting street surveillance of
individuals engaged in drug trafficking. I have participated in the execution of
numerous search warrants where controlled substances, drug paraphernalia, and
drug trafficking records were seized;

d. I am familiar with the appearance and street names of various
drugs, including marijuana, heroin, cocaine, cocaine base, ecstasy, and
methamphetamine. I am familiar with the methods used by drug dealers to
package and prepare controlled substances for sale. I know the street values of

different quantities of the various controlled substances;

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e. I am familiar with the language used over the telephone to
discuss drug trafficking, and know that the language is often limited, guarded, and
coded;

f. I know that drug traffickers often use electronic equipment and
wireless and land line telephones to conduct drug trafficking operations;

g. I know that drug traffickers commonly have in their possession,
and at their residences and other locations where they exercise dominion and
control, firearms, ammunition, and records or receipts pertaining to such;

h. I have been assigned to court-authorized wiretaps and have
been trained to operate the equipment used to conduct such operations;

1. I know that drug traffickers often put their telephones in
nominee names to distance themselves from telephones that are used to facilitate
drug trafficking; and

j. I know that drug traffickers often use drug proceeds to purchase
assets such as vehicles, property, and jewelry. I also know that drug traffickers
often use nominees to purchase and/or title these assets to avoid scrutiny from law
enforcement officials.

4. The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and witnesses.
This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

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5. This Court has authority to issue the requested warrant under Federal
Rule of Criminal Procedure Rule 41(b)(1) & (2) because the Target Cellular Devices
are currently believed to be located inside this district because LOUIS PEREZ III is
currently known to spend most of his time in this district, and he was seen in the
Eastern District of Wisconsin as recently as April 7, 2020. Pursuant to Rule
41(b)(2), law enforcement may use the technique described in Attachment B outside
the district provided the devices are within the district when the warrant is issued.

6. Based on the facts set forth in this affidavit, there is probable cause to
believe that violations of 21 U.S.C. §§ 841(a)d) and 846 (distribution of controlled
substances and conspiracy to distribute controlled substances); 21 U.S.C. § 843(b)
(unlawful use of communications facilities); and 18 U.S.C. §§ 1956 and 1957
(daundering of monetary instruments and conspiracy to do so) have been committed,
are being committed, and will be committed by LOUIS PEREZ III, XINA YANG,
LOUIS PEREZ JR., and others yet unknown. There is also probable cause to
believe that the identity of the Target Cellular Devices will constitute evidence of
those criminal violations. In addition, in order to obtain additional evidence
relating to the Target Cellular Devices, their users, and the criminal violations
under investigation, law enforcement must first identify the Target Cellular
Devices. There is probable cause to believe that the use of the investigative
technique described by the warrant will result in officers learning that identifying

information.

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7. Because collecting the information authorized by this warrant may fall
within the statutory definitions of a “pen register” or a “trap and trace device,” see
18 U.S.C. § 3127() & (4), this warrant is designed to comply with the Pen Register
Statute as well as Rule 41. See 18 U.S.C. §§ 3121-3127. This warrant therefore
includes all the information required to be included in a pen register order. See 18
U.S.C. § 3123(b)(1).

PROBABLE CAUSE

8. In September 2018, HIDTA DEA initiated an investigation into
individuals distributing large quantities of cocaine and marijuana throughout
Milwaukee, Wisconsin. HIDTA identified the individual orchestrating the DTO as
LOUIS R. PEREZ III (PEREZ ITT). The investigation has revealed that PEREZ IT]
obtains large quantities of cocaine, heroin, and marijuana from unknown source(s)-
of-supply in or near California, and from the Milwaukee, Wisconsin area, which is
then distributed in the Milwaukee area. To date, the investigation has also revealed
the following:

a. The DTO uses couriers to bring cocaine from the west coast of
the United States to Milwaukee, Wisconsin, and money from Milwaukee to the west
coast;

b. XINA YANG CXINA) and others, are facilitating the PEREZ III
DTO by regularly making travel, lodging, and other arrangements for the DTO and

by financially assisting the DTO;

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C. Pursuant to a Wisconsin Department of Workforce Development
query for the years 2018 and 2019, PEREZ III has no legitimate employment
record. This is consistent with the daily positional data on his phones.! However,
bank account records from 2017 through 2019 for PEREZ III and XINA reflect
frequent and often high-level cash deposits and withdrawals in geographically
disparate areas to include Milwaukee and California locations, and are consistently
travel-related. Travel records, bank account information, and telephone location
data reflect that PEREZ III and XINA frequently travel between Milwaukee,
Wisconsin and California, particularly the northern California and Los Angeles,
California areas. The northern California areas in which PEREZ IT and XINA
appear to frequent based upon positional data from their telephones are areas that
are known by law enforcement to be the location of large-scale marijuana grow and

distribution operations;

d. In I :sxant to an order authorized in
a rz III was intercepted engaging in drug-related

communications with a source of information (SOI #1). SOI #1, upon arrest,
admitted to supplying PEREZ III with kilogram quantities of cocaine throughout

2018 and 2019. SOI #1 described SOI #1 as a “back up supplier” to PEREZ IIT; and

 

1 The only known social security number for XINA returns results for MARY YANG,
XINA’s sister, when queried with the Wisconsin Department of Workforce Development.
However, XINA has never been surveilled traveling to or from work, and the daily
positional data of her phones is inconsistent with any legitimate employment.

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e. Since December 2019, PEREZ III has been shipping parcels to
JULIAN SANCHEZ (SANCHEZ) in California using aliases and sender addresses
not associated with PEREZ III. This has been confirmed by positional data and U.S.
Postal Service video surveillance.
9. Special Agents of HIDTA and DEA have received information

concerning the illegal drug trafficking activities of members of the DTO.

a. Beginning UC source of information (SOI

#1) made statements against SOI #1’s penal interest Ts

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oa far, the information provided by SOI #1 has been corroborated

by information known to case agents gathered during the course of this
investigation. According to law enforcement databases lS

DP witnin the context of the information detailed and relied upon for purposes
of this application, law enforcement believes that SOI #1 is credible and SOI #1’s
information is reliable.

b. In December 2019, SOI #2 provided information against SOI

paid money in exchange for his cooperation with law enforcement. Thus far, the

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information provided by SOI #2 has been corroborated by other information

gathered during the course of the investigation. According to law enforcement

databases, teenie) J Seer) |
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Within the context of the information

detailed and relied upon for purposes of this application, law enforcement believes
SOI #2 is credible and SOI #2’s information is reliable.
A, Eight Kilograms of Cocaine Seized from PEREZ JR. While
Driving From California to Wisconsin; PEREZ III Dropped His
Telephone Number.
10.. On September 25, 2018, at approximately 2:47 a.m., a trooper with the
Utah Highway Patrol observed a silver Ford F-150, bearing Wisconsin registration
plate PE6037, traveling north on I-15. The trooper observed that the truck was
traveling near a Chevrolet Suburban with California registration plates. Upon
stopping the Ford F-150 because the registration plate did not return to the vehicle,
the trooper identified the driver of the Ford F-150 as PEREZ JR. Almost
immediately after the stop, PEREZ JR.’s cellphone began to ring. PEREZ JR.
answered the phone and explained that he had been stopped for the vehicle
registration. PEREZ JR. informed the trooper that he was traveling with his son,
later determined to be PEREZ III.

11. PEREZ JR. appeared very nervous. PEREZ JR. stated that he had

purchased the truck in Wisconsin, and that he and his son, who was traveling with

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his girlfriend, drove separate vehicles to Las Vegas. He further gave the name of
two different hotels where they had stayed in Las Vegas. The trooper asked PEREZ
JR. if he had asked his son to wait for him at the next exit, and PEREZ JR. stated
that he had. Additionally, PEREZ JR. stated that his son had a place in California,
but lived in Milwaukee.

12. The trooper asked PEREZ JR. if there was anything illegal in the F-
150, and PEREZ JR. stated that there was not. The K-9 alerted on the vehicle and
PEREZ JR. gave officers on scene consent to search the F-150. A subsequent search
of the F-150 revealed a hidden hydraulic compartment in the rear seat area of the
F-150 containing eight packages of cocaine wrapped in plastic wrap, totaling eight
kilograms. Also located in the Ford F-150 were two cellular telephones, later
determined to be cellular telephone numbers (414) 208-8352 and (213) 423-9135,
and a receipt showing the purchase of the phone with assigned number (213) 423-
9135, a prepaid phone, on September 21, 2018, under the subscriber name of
Ricardo Torro in Los Angeles, California.

13. On September 25, 2018, PEREZ JR. was arrested for Possession with
Intent to Deliver Cocaine, and PEREZ JR. provided the following in a Mirandized
interview:

a. PEREZ JR. stated that he left Wisconsin on September 20, 2018,
because he wanted to visit California as a tourist. He now stated that he did not go

to Las Vegas:

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b. PEREZ JR. stated that he stayed in his truck, which he recently
purchased, at rest stops, and that he stayed in hotels once in California. PEREZ JR.
gave different hotel names before committing to staying at the Best Western Hotel
in Indio, California.

c. PEREZ JR. stated that his son and his son’s girlfriend, XINA,
traveled from Milwaukee to California with him in the Ford F-150, but that his son
and XINA rented a truck in California because they did not want to make the
return trip to Milwaukee “inconvenient” for PEREZ JR. PEREZ JR. confirmed that
PEREZ III and XINA were operating the truck traveling in close proximity to
PEREZ JR. when he was stopped.

d. PEREZ JR. stated that he did not know anything about the
kilograms of cocaine contained in the hidden compartment in his truck. PEREZ JR.
further stated that PEREZ IIT used his truck briefly while in California, but denied
knowing where PEREZ III went. PEREZ JR. stated that PEREZ III arranged for
PEREZ JR. to purchase the truck.

e. Regarding the MetroPCS prepaid cellular telephone located in
his vehicle, PEREZ JR. stated that he did not know Ricardo Torro (subscriber); that
PEREZ III purchased the phone while in California; and, that he only used that
phone for the GPS feature on the phone while traveling. PEREZ JR. stated that the

other phone located in the truck was his “personal” phone.

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14... On December 12, 2018, PEREZ JR. was indicted in the District of Utah
for Possession with Intent to Distribute Cocaine. He was subsequently arrested on
December 21, 2018, at his residence, 420 E. Morgan Avenue, Milwaukee, Wisconsin.

15. -. During a Mirandized interview on December 21, 2018, PEREZ JR.
confirmed that he traveled to California with PEREZ III and XINA in his truck, but
they rented a black Suburban for the drive back to Wisconsin and were following
PEREZ JR. when he was stopped. PEREZ JR. stated that nobody used his truck
while in California, contrary to his statement upon his arrest in Utah, and that he
did not know what PEREZ III and XINA did while in California. PEREZ JR. stated
that he stayed in a hotel for five nights in California but did not leave the room
except for at night because it was “too hot” outside.

16... Records from Best Western Hotel in Indio, California revealed that, on
September 21, 2018, XINA rented rooms 107-A and 110-A and paid for both rooms
through September 25, 2018. XINA provided an address of 420 E. Morgan Avenue,
Milwaukee, Wisconsin. A portion of both room charges were paid for in cash and the
remaining balance was paid with a credit card. Copies of the room rental
agreements for both rooms have the signature that appears to be PEREZ III, as the
signature has a distinctive “L” and “P,” along with the numerals “III” behind the
signature.

17. On September 25, 2018, Wells Fargo bank records further revealed a
$2,000 deposit into XINA’s Wells Fargo bank account at a branch in Saint George,

Utah. The bank records also have a copy of a deposit slip bearing the name XINA

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for this deposit, as well as a photograph of the top portion of the face of an Asian
female.

18. | Furthermore, American Airlines flight records confirm that, on
September 25, 2018, PEREZ JR., PEREZ III, and XINA flew American Airlines
fight 296 departing from Los Angeles International Airport at 11:53 p.m. and
arrived at Chicago O'Hare Airport at 6:00 a.m. on September 26, 2018. XINA
booked the flights using her email address (ladie.macc@gmail.com), and paid for the
fights using her Wells Fargo Bank debit card. Case agents are aware that on
September 25, 2018, after PEREZ JR. had been interviewed by law enforcement in
Utah, he was released on bail.

19. Based on my training, experience, and knowledge of this investigation,
I believe that PEREZ III and XINA owned the eight kilograms of cocaine seized on
September 25, 2018 in Utah. I further believe that this seizure evidences that the
PEREZ ITI DTO is transporting kilogram quantities of cocaine from California to
Wisconsin.

20. .A-review of the telephone download of PEREZ JR.’s MetroPCS prepaid
cellular telephone revealed that the only listed contact was “L,” with a phone
number of 213-433-9490, which was also a prepaid cellular telephone activated on
September 21, 2018, in the name of an unknown individual in Los Angeles,
California. PEREZ JR.’s telephone download further revealed both incoming and
outgoing text messages and telephone calls between these prepaid phones from

September 21, 2019 through September 25, 2019, the date of the traffic stop. Based

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upon the above, I believe that “L” stands for LOUIS (PEREZ IID, and that PEREZ
III and PEREZ JR. were using the two prepaid phones to communicate while they
were driving in separate vehicles back to Wisconsin.

21... A review of positional data obtained pursuant to a search warrant
revealed that the prepaid cellular telephones operated by PEREZ JR., PEREZ III,
and XINA were traveling in the same general areas at the same general times from
September 21, 2018 to September 25, 2018, which reflects that they were all in the
same general area at the same general time.

22. At the time of the Utah traffic stop, PEREZ III was using an additional
phone number, (414) 336-8443, which was activated on July 26, 2017, and
subscribed to by LOUIS R. PEREZ, at 2923 S. 6th Street, Milwaukee, Wisconsin.
The day after the Utah traffic stop, or September 26, 2018, PEREZ III cancelled this
cellular telephone number and established a new phone number: (262) 402-9497.

B. $99,970 Seized From MARY YANG While Driving From
Milwaukee To California; PEREZ III Uses A Predecessor Phone
to Contact MARY YANG.

23. On August 28, 2019, at approximately 4:24 p.m., a Wyoming Highway
Patrol Trooper stopped a red Dodge Grand Caravan bearing Wisconsin Registration
AGB3074 traveling westbound on I-80 for speeding. Located inside the vehicle was
MARY YANG (MARY), the driver, three children, and three dogs inside a dog

kennel. MARY is XINA’s sister. MARY stated that the minivan was rented, and the

trooper detected a strong odor of marijuana emanating from the interior of the van.

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24. While seated in the trooper’s vehicle, MARY stated that (1) she was
driving from Milwaukee, Wisconsin, to Fresno, California, to visit her mother and
planned to stay for two days before returning home; (2) she rented the van on
Monday, August 26, 2019, and planned to return it on September 3 or 4; and (8) two
of the children in the van were hers and one was her niece.

25. . Then, in a Mirandized interview, MARY stated that she had a small
amount of personal marijuana in her van and approximately $4,000 in U.S.
Currency in the vehicle.

26. — After a narcotics detection canine indicated on the passenger side of
the van, the trooper searched it, located two partially burned marijuana cigarettes
in the center console, marijuana “shake” on the front passenger seat, $4,000 in a
fanny pack, and nine bundles of suspected bulk currency, totaling $99,970 in the
driver's side stow-n-go compartment under the dog kennel. The bundles were tightly
wrapped in black electrical tape. MARY denied any knowledge of the nine bundles
of currency, but claimed ownership of the currency in the fanny pack. MARY was
arrested for possession of marijuana.

27. At the time of the stop, MARY possessed a cellular telephone,
determined to be telephone number (414) 607-2576, and MARY stated that she lived
at 4748 N. 49th Street, Milwaukee, Wisconsin.

28..- Atoll analysis revealed that PEREZ III, using predecessor phone
number (213) 238-1605, was in contact with MARY’s telephone number (414) 607-

2576 eight times on August 28, 2019. XINA, also using a predecessor phone
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number, was in contact with MARY’s telephone 87 times between August 26 and
September 3, 2019.

29. Within the lawful forensic download of MARY’s cellular telephone, case
agents located several text messages between MARY and XINA’s predecessor phone
number beginning on August 26, 2019, that discussed the rental of the van and
XINA asking MARY if MARY took the cost of the van “out of my money.”

30. On September 25, 2019, PEREZ III’s predecessor phone number (213)
238-1605 and XINA’s predecessor phone number—both numbers used to contact
MARY the day she was stopped—were no longer used to make outgoing calls. Based
on acommon call analysis using pen/trap data, agents identified (626) 733-2083 as
the replacement phone number for PEREZ III, and (626) 629-6224 as the
replacement phone number for XINA. Both phones were activated on September 24,
2019 and subscribed to by LOUIS R. PEREZ, 420 E. Morgan Avenue, Milwaukee,
Wisconsin.

C. DTO Expenditures.

31. . Based on the investigation to date, I believe that the PEREZ III DTO
principally operates in cash. Case agents have examined bank records for PEREZ
III, XINA, and others dating back to January of 2017, as well as flight records for
PEREZ III, XINA, and others. This analysis has revealed that between January 27,
2017 and November 6, 2018, a total of $83,800 was deposited into XINA’s Wells
Fargo bank account ending in x3243, comprised of $71,000 cash and $9,961 in two

federal tax refunds. The cash deposits occurred in various cities throughout the

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United States, including Milwaukee, Wisconsin; Davenport and Miami, Florida; St.
George, Utah; and Santa Rosa, California. During this same time-frame,
withdrawals from this account totaled $83,772. Further, between April 1, 2019 and
November 6, 2019, a total of $50,800 was deposited into XINA’s U.S. Bank account
ending in x3919, comprised of $38,000 cash and the remainder being PayPal credits
and transfers from other bank accounts. The cash deposits occurred in Milwaukee,
Wisconsin; and Redding, Palm Springs, and Vallejo, California. The total
withdrawals from this account totaled $50,300.

32. The cash deposits and withdrawals reflected are also significant for the
following reasons:

a. XINA’s and PEREZ III's cash deposits and withdrawals occur in
both Milwaukee and various cities in California, thus evidencing PEREZ III’s and
XINA’s activities in furtherance of the DTO;

b. Activity on PEREZ III’s and XINA’s accounts happens at branch
locations in California when flight records place them in Wisconsin and vice versa.
Additionally, in some instances financial activity will occur at branch locations in
Wisconsin and California on the same day. For example:

i. On April 16, 2018, there was a $5,000 withdrawal from
XINA’S Wells Fargo account at a Wells Fargo branch located in Santa Rosa,
California. The same day there was a $5,000 deposit into XINA’s Wells Fargo

account at a Wells Fargo branch located in Milwaukee, Wisconsin.

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ui. On March 12, 2018, there was a $300 withdrawal from
XINA’s Wells Fargo account at the Wells Fargo branch at 200 B Street, Santa Rosa,
California. The same day there was an additional $5,000 withdrawal from the same
account at the same branch location. The same day there was an additional $5,000
withdrawal at the Wells Fargo branch located at. 2751 4th Street, Santa Rosa,
California. The same day, there was a $5,487 deposit into XINA’s Wells Fargo
account at the Wells Fargo branch located at 131 W. Layton Avenue, Milwaukee,
Wisconsin. There was an additional deposit that day in the amount of $7,020 into
XINA’s Wells Fargo account at the Wells Fargo branch located at 6130 W. National
Avenue, Milwaukee, Wisconsin. This is indicative of an unknown person using
XINA’s account in furtherance of the DTO.

ii. On April 20, 2018, PEREZ III opened a Wells Fargo
account ending in x9363 at the Wells Fargo branch located in Healdsburg,
California. Between April 20 and April 23, 2018, a total of $13,275 was deposited in
this account in Milwaukee, Wisconsin. Between April 23 and April 24, 2018, all
$13,275 had been withdrawn in Santa Rosa, California. XINA’s Wells Fargo account
reflects similar activity during this time period.

C. The deposit and withdrawal activity often corresponds with
flight activity of various individuals believed to be co-conspirators. For example:
i. - On January 6, 2017, there was an $860 cash deposit into
JASMINE PEREZ’s TCF Bank Account. JASMINE PEREZ (JASMINE) is PEREZ

III's sister. Also on January 6, 2017, PEREZ III and Esteben Reyes flew from

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Mitchell International Airport in Milwaukee, Wisconsin, to Sacramento
International Airport in Sacramento, California, on American Airlines. The flights,
totaling $1,413.11, were paid for with a TCF Bank card belonging to JASMINE.
PEREZ ITI returned to Milwaukee two days after departing Milwaukee, Wisconsin.
The short turnaround time is consistent with travel in furtherance of the DTO.
ui. On July 14, 2017, PEREZ ITI, XINA, and Jose Guerrero
flew from O’Hare International Airport toSan Francisco International Airport.
PEREZ ITI paid for all of the flights with his U.S. Bank debit card. That same day,
there was a $4,400 cash deposit into XINA’s Wells Fargo account. This deposit was
made at the Wells Fargo branch in Milwaukee, Wisconsin. On July 16, 2017,
PEREZ III and XINA flew from San Francisco International Airport to O'Hare
International Airport. The flights were paid for in cash, and $7,500 was withdrawn
from XINA’s account the following day.
ii. On August 11, 2017, there was a cash deposit of $8,524

into XINA’s Wells Fargo account at the Wells Fargo branch located at 7600 W.
Hampton Avenue, Milwaukee, Wisconsin. On August 12, 2017, PEREZ III flew
from O’Hare International Airport to San Francisco International Airport on
American Airlines. The flight was paid for from XINA’s Wells Fargo Bank account.

d. Some transactions have been structured. As evidence of this, on
July 17, 2017, the day after PEREZ III and XINA flew from San Francisco

International Airport to O’Hare International Airport, three separate withdrawals,

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each for $2,500, from XINA’s Wells Fargo account occurred at three separate
California Wells Fargo branch locations.

33. . Despite frequent travel to California and numerous cash deposits in
their bank accounts, to date, case agents have been unable to identify any
legitimately earned income on behalf of either PEREZ III or XINA.

34. Financial documents have revealed the following about PEREZ JR.

a. On May 8, 2017, a bank account owned by Sunrise Cleaning
Services, a business owned by PEREZ JR., incurred expenses at several gas stations
in lowa, Nebraska, and Colorado. It is case agents’ belief that PEREZ JR. was
driving to or from somewhere in the western United States in furtherance of the
DTO.

b. On September 28, 2018, there was a $5,000 cash deposit into
PEREZ JR.’s Sunrise Cleaning Service bank account. On October 1, 2018, PEREZ
JR.’s Sunrise Cleaning Service U.S. bank account showed a $5,000 payment toa
law firm. On October 9, 2018, there was a $2,500 cash deposit into PEREZ JR.’s
Sunrise Cleaning Service bank account. On October 10, 2018, PEREZ JR.’s Sunrise
Cleaning Service bank account showed a $2,500 payment to a law firm. I believe
that someone provided cash to PEREZ JR. to pay for PEREZ JR.’s lawyer fees
associated with his pending case in Utah.

35. . Financial documents have revealed the following about JASMINE:

a. On September 25, 2018 (the day that PEREZ JR. was stopped in

Utah) $7,616 in U.S. Currency was deposited into JASMINE’s TCF bank account in
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Milwaukee, Wisconsin. On September 26, 2018, JASMINE’s TCF Bank account
showed a $1,336 payment to Davidson Bonding LLC in Utah. There was an
additional $6,180.00 payment to AAA Bail Bonds in Utah paid from the same
account.

b. On February 20, 2019, JASMINE received a deposit of $1,215
from Square Inc. into her Wells Fargo account. The same day, (1) there was a
withdrawal of $800 in cash from the Wells Fargo branch located in Vallejo,
California, and (2) JAMSINE’s Wells Fargo account sent $240 to SANCHEZ.

c. On March 1, 2019, there was a $2,000 cash withdrawal from
JASMINE’s Wells Fargo account in Milwaukee, Wisconsin. The same day,
JASMINE accessed her safety deposit box, which she opened at Wells Fargo on
February 2, 2019.

36. - JASMINE received deposits from Square Inc. into her Wells Fargo
account on various dates between February 27, 2019 and May 20, 2019 in amounts
from $45 and up to $2,175. She accessed her Wells Fargo safety deposit box on May
20, 2019.

37. . Flights records further establish the following:

a. On October 31, 2018, PEREZ III and SANCHEZ flew from
O’Hare International Airport to Los Angeles International Airport. PEREZ III paid
for both flights from his U.S. Bank account;

b. On November 11, 2018, PEREZ II] and SANCHEZ flew

American Airlines from Los Angeles International Airport to O'Hare International
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Airport. The cost of the flights were $586.04 each and were paid for from XINA’s
Wells Fargo account.

D. DTO Travel and Surveillance of DTO Activities.

38. Positional data for predecessor telephone numbers associated with
PEREZ III and XINA, for various times between June 2019 and January 2020,
revealed that PEREZ III and XINA frequently traveled between Wisconsin and
California, and between Los Angeles, Vallejo, and northern California. Public
databases revealed that XINA was associated with the address of 24 Rose Lane,
Vallejo, California. Pacific Gas and Electric records indicate that XINA was the
utility subscriber for 24 Rose Lane, Vallejo, California from May 11, 2018 to
September 30, 2019. Based upon their pattern of travel to northern California,
which is the hub of marijuana grows, use of unexplained cash, and SOI information,
I believe that PEREZ III’s and XINA’s marijuana source of supply is located in the
northern California area, and they travel to this area in furtherance of the DTO.

39... For example, positional data on PEREZ III’s and XINA’s predecessor
phones revealed that the phones traveled to Los Angeles, California on June 17 and
18, 2019. On June 19 and 20, both phones traveled approximately 405 miles north
from Los Angeles to Vallejo, California. On June 26, 2019, PEREZ III’s predecessor
phone traveled to Perris, California (southeast of Los Angeles) and back to Vallejo
on June 28, 2019. On July 2, 2019, both phones traveled north to various areas near
Redding, California, and then back to Vallejo. On July 3, 2019, both phones traveled
to Ilinois near O’Hare airport, then to Milwaukee, Wisconsin.

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40. Two days later, on July 5, 2019, at approximately 9:25 a.m., case
agents observed a white Dodge minivan bearing California registration 8GRU235
parked in the driveway at 722 S. 25th Street, Milwaukee, Wisconsin. The white
Dodge minivan was registered to EAN Holdings, LLC, a rental car company, whose
records indicated that the vehicle was rented by Kao Yang, XINA’s mother, in
Fresno, California, on June 29, 2019. The vehicle was scheduled to be returned on
July 6, 2019, but the return date was changed to July 13, 2019. Positional data for
PEREZ IITs and XINA’s predecessor telephones established that both were in the
vicinity of 722 S. 25th Street, Milwaukee, Wisconsin, on July 5, 2019, and at
approximately 5:20 p.m. on July 5, 2019, case agents observed PEREZ III wearing a
brown leather backpack, emerge from the driveway area of the residence and walk
up to the front door of the residence.

41... PEREZ III and XINA took a similar trip from July 8-17, 2019. Their
predecessor phones registered first near O’Hare airport in Illinois, then San
Francisco airport, before traveling and arriving in Vallejo, California, on July 9,
2019. On July 10 and 11, 2019, PEREZ III’s predecessor phone traveled to various
areas in Northern California and Vallejo, before both phones registered in Los
Angeles from July 12-14, 2019. Both phones then traveled north to Redding on July
15, Vallejo on July 16, and Milwaukee on July 17, 2019.

42. On August 6, 2019, PEREZ II] and XINA’s predecessor phones began
traveling west. The travel pattern of the phones reflected that PEREZ III and XINA

were traveling in a vehicle. On August 8, 2019, the phones began pinging in the
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area of 24 Rose Lane, Vallejo, California. Both phones continued to register in
California until August 16, 2019 when they both registered in Chicago, Illinois, near
O’Hare airport, and then Milwaukee, Wisconsin.

43. ~ On September 2, 2019, PEREZ IIl’s and XINA’s predecessor phones
again began traveling west and reflect that PEREZ III and XINA were traveling in
a vehicle. On September 4, 2019, both phones registered in the area of 24 Rose
Lane, Vallejo, California.

44. On November 1, 2019, at approximately 7:27 p.m., PEREZ IIl’s and
XINA’s predecessor phones began traveling east from Vallejo, California, along I-80.
The phones subsequently registered in Nevada (November 2, 2019, at
approximately 3:15 p.m.), Utah (November 2, 2019, at approximately 6:34 p.m.),
Wyoming (November 3, 2019, at approximately 12:45 a.m.), Nebraska (November 3,
2019, at approximately 7:10 p.m.), and Stuart, lowa (November 4, 2019, at
approximately 2:53 a.m.).

45. On November 4, 2019, at approximately 2:04 a.m., XINA’s predecessor
phone made an outgoing call to the Stuart Motor Lodge, a motel located at 203 SW
7th Street, Stuart, lowa. In the Stuart Motor Lodge parking lot, law enforcement
located a vehicle known to be operated by PEREZ III and XINA—a silver 2016
Chevrolet Impala bearing California registration 8GUH133 (registered to XINA’s
mother)—with a U-Haul trailer attached.

46. Thereafter, positional data indicates that phones traveled to Rochelle,

Illinois, then to Wisconsin. Law enforcement then located the Impala traveling

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north on I-43 at the Illinois-Wisconsin border on November 4, 2019, at
approximately 4:03 p.m. At a rest stop in Elkhorn, Wisconsin, three adult Hispanic
males, one female, and a baby were observed exiting and re-entering the Impala.

47... Once in Milwaukee, law enforcement observed PEREZ III operating
and XINA occupying the Impala, which stopped at three Milwaukee residences.
Law enforcement observed PEREZ III meet with an unknown male and female in
Milwaukee, from whom PEREZ III obtained two boxes that he subsequently placed
in the U-Haul trailer. After this meeting, PEREZ IIT, XINA, and their passengers
entered the Impala and left the area. PEREZ III eventually drove to MARY’s
residence located at 4748 N. 49th Street, Milwaukee, Wisconsin, and backed into
her driveway. Law enforcement observed the occupants of the vehicle remove boxes
from the trailer, but were unable to determine if the boxes were taken in the
residence or the garage because it was late in the day and dark.

48... On November 8, 2019, law enforcement conducted surveillance of
PEREZ III with the assistance of court ordered location data associated with the
Impala. Law enforcement observed PEREZ III operating the Impala as the sole
occupant and park on the north side on West Burnham Street between South 17th
Street and South 18th Street in Milwaukee, Wisconsin. Law enforcement observed

a grey Audi Q5 SUV, bearing WI registration AEB-5843,? turn north onto South

 

2 According to Wisconsin Department of Transportation records, the WI registration
plates attached to the Audi Q5 SUV are not associated with that vehicle.

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17th Street, make a U-turn, and park on South 17th Street near the corner of W.
Burnham Street. Case agents observed a Hispanic male, later identified as
CARLITO FERREIRA MERCADO, exit his vehicle and walk towards the area of
the Impala. Case agents were unable to observe FERREIRA MERCADO meet with
PEREZ III; however, FERREIRA MERCADO was out of his vehicle for less than
five minutes before he returned to his Audi SUV and left the area. Law
enforcement observed PEREZ III drive the Impala away from the area by himself.
The surveilled interaction between PEREZ III and FERREIRA MERCADO is
consistent with a drug transaction.

E. SOI #1 Arrested and Admits Supplying PEREZ III with
Cocaine.

49... On ay: federal search warrant was executed at

Milwaukee, Wisconsin, the residence of SOI #1. During the course of

. Currency, a rifle with an
extended magazine, a pistol, thirteen cellular telephones, a money counter,
packaging materials including bags, scales, rubber gloves, and a vacuum sealer, and
approximately 500 grams of cocaine.

50. Also ts #1 -was arrested in Milwaukee,

Wisconsin on a federal arrest warrant issued in the

 
 
    

  

pon arrest, SOI #1 provided information

regarding PEREZ III.

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51. SOI #1 identified a photograph of PEREZ III and stated that SOI #1
knows PEREZ III by face and doesn’t know his real name. SOI #1 stated that SOI
#1 only knows PEREZ III by the nickname of “Grenas.” SOI #1 met PEREZ III
approximately 1.5 to 2 years before SOI #1’s arrest. SOI #1 began supplying
kilogram quantities of cocaine to PEREZ III shortly after meeting PEREZ III.

52. - SOI #1 stated that PEREZ III split his time between Milwaukee and
California, and SOI #1 did not supply drugs to PEREZ III on a regular basis.
According to SOI #1, SOI #1 saw PEREZ III infrequently, and their encounters were
for the sole purpose to conduct drug transactions. SOI #1 stated that PEREZ III
was very close with PEREZ III's family members and was not trusting of very many
people. SOI #1 stated that SOI #1’s dealings were with only PEREZ ITI, and
PEREZ III never brought anyone with him when obtaining cocaine from SOI #1.
PEREZ III told SOI #1 that he preferred to conduct drug transactions himself so
that PEREZ III could control the transaction better. SOI #1 did not know any of
PEREZ IIl’s customers.

53. - SOI #1 stated that PEREZ III brings approximately 800-1,000 pounds
of high-grade marijuana to Milwaukee from California each month for distribution
in the Milwaukee area. PEREZ III also sells “vape pens” containing THC in the
Milwaukee area. PEREZ III told SOI #1 that PEREZ III makes more money selling
marijuana than cocaine or heroin.. PEREZ III told SOI #1 that PEREZ IIT obtained

the marijuana from “Asians” in the Sacramento, California area.

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54. SOI #1 identified a photograph of PEREZ JR. and stated that PEREZ
JR. transported marijuana and cocaine from California to Milwaukee for PEREZ
Ill. SOI #1 further stated that PEREZ III told SOI #1 that PEREZ JR. was
involved in a traffic stop and arrested by the police. PEREZ III was upset and told
SOI #1 that PEREZ III believed that someone “snitched” on PEREZ IIT resulting in
PEREZ JR. being stopped by the police. SOI #1 did not know what PEREZ JR. had
in the vehicle, but knew that PEREZ JR. had a pending case as a result of the
traffic stop.

55. SOI #1 stated SOI #1 supplied PEREZ III with approximately 10
kilograms of cocaine per week over the last 1% to two years when PEREZ III was in
Milwaukee, and one kilogram of heroin around February or March of 2019.
According to SOI #1, PEREZ III mainly sold kilogram quantities of cocaine and
large amounts of marijuana. SOI #1 stated that PEREZ III paid approximately
$30,000 for a kilogram of cocaine and approximately $46,000 for a kilogram of
heroin, and PEREZ III always paid SOI #1 in cash. PEREZ III told SOI #1 about
obtaining kilograms of methamphetamine, but SOI #1 had no direct knowledge of
PEREZ III selling methamphetamine.

56. . SOI #1 stated that PEREZ III had an additional kilogram level cocaine
source of supply in California and Milwaukee. PEREZ III told SOI #1 that even
though the kilograms of cocaine cost a little more in Milwaukee than they do in

California, it was sometimes easier and less risky for PEREZ III to obtain the

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cocaine in Milwaukee. SOI #1 did not know how PEREZ III was getting the cocaine
to Milwaukee from California since PEREZ JR. was arrested.

57. . According to SOI #1, a few days before SOI #1 was arrested, PEREZ III
contacted SOI #1 and requested seven kilograms of cocaine, but SOI #1 did not have
any. SOI #1 stated PEREZ ITI said that he would go to his “other guy,” even though
PEREZ ITI liked the quality of SOI #1’s cocaine. SOI #1 described himself/herself as
the “back up supplier.”

58. According to SOI #1, PEREZ III told SOI #1 that PEREZ IIT had two
“stash houses” in Milwaukee, but SOI #1 did not know where those houses were
located.

59. SOI #1 further indicated PEREZ III told SOI #1 that PEREZ III had a
customer who purchased kilogram quantities of heroin from PEREZ III, but that
PEREZ III didn’t like selling heroin because PEREZ IIT said that selling heroin was
“dangerous.” PEREZ III told SOI #1 that PEREZ III’s heroin supplier was in
Milwaukee.

60. SOI #1 stated that SOI #1 had a telephone number for PEREZ III in
one or more of SOI #1’s cellular telephones and that the number would be stored
under the name “Grenas.” SOI #1 frequently changed telephone numbers so SOI #1
could not say which one of SOI #1’s phone had “Grenas” phone number. SOI #1
recalled mainly texting and calling with PEREZ III and stated that PEREZ III also

frequently changed his telephone numbers.

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61... Pursuant to a lawful search of SOI #1’s various telephones, case
agents located in one of SOI #1’s phones a contact name of “Grenas” with the
corresponding telephone numbers listed as “Mobile 213-238-1605” and “Home 562-
273-8530.”

62. . PEREZ III used both of these telephone numbers to communicate with
SOI #1 MTT nich communications, which are believed to be criminal in nature,
were intercepted pursuant to a district court order authorizing wire and electronic
communications over various phones used by SOI #1 in a case originating in

F. PEREZ ITI Ships Parcels Via U.S. Mail From Milwaukee to
SANCHEZ in California Using Aliases.

63. United States postal records, post office video surveillance, and court

ordered location data from a tracking device on PEREZ III’s Chevrolet Impala

California between December 2019 and January 2020, from the U.S. Post Office
located at 5500 S. Howell Avenue, Milwaukee, Wisconsin.

64. The sender n
Gonzalez,” and the sending addresses vary by the package. One of sending
addresses listed was “3238 W. Morgan Ave, Milwaukee, WI 53221,” which is a
former address for PEREZ III between 2016 and 2017. Another example of a
sending address that was used was “3701S. Howell Ave, Milwaukee, WI 53207,”

which corresponds to a Walgreens pharmacy store.

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65... The recipient names mostly include JULIAN SANCHEZ, but have also
listed Shannon Butler. Some of the destination addresses have been associated with
JULIAN SANCHEZ in law enforcement database, and some of the destination
addresses have been determined to be third party shipping companies that have
mailbox rentals.

66... Court ordered location data for the Impala reflects that the Impala was
stopped in the area of the Howell Avenue post office on dates that correspond to the
mailing dates the above-described packages.

67. Additionally, while video surveillance from the post office was not
available on all pertinent dates due to a malfunction, video surveillance depicts
PEREZ III at the post office mailing parcels on December 23 and December 24,
2019, and January 27, 2020, which parcels have been identified as the ones mailed
to JULIAN SANCHEZ. Additionally, video surveillance from January 27, 2020 also
depicted PEREZ III’s Impala.

68. Based on the information set forth supra, PEREZ III uses aliases and
false addresses to conceal his identity. Based upon the weight of the packages and
intended recipient, I believe that PEREZ II] is mailing bulk U.S. currency to
JULIAN SANCHEZ to pay for narcotics.

G. February 6, 2020, Arrest of Co-conspirator; PEREZ III Dropped
His Telephone Numbers.

69. On December 18, 2019, case agents met with SOI #2 regarding an

ounce-level cocaine supplier in the Milwaukee, Wisconsin, area identified as

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ANTONIO RODRIGUEZ. SOI #2 stated RODRIGUEZ goes by the street name of
“Lil Mexico” and utilizes cellular telephone number (414) 704-8749. SOI #2 stated
that RODRIGUEZ works for a larger supplier unknown to SOI #2. SOI #2 stated
SOI #2 had recently seen RODRIGUEZ at a gas station on the south side of
Milwaukee driving a gray Nissan Maxima. SOI #2 also observed an unknown
Hispanic male, described asa larger build individual with long hair with braids,
with RODRIGUEZ. Case agents provided SOI #2 with a photograph of PEREZ ITI,
and SOI #2 positively identified PEREZ III as the Hispanic male with
RODRIGUEZ. Analysis of pen register data shows that 414-704-8749 was in
regular contact with PEREZ III throughout January of 2020.

70... On February 6, 2020, at approximately 6:30 a.m., RODRIGUEZ was
arrested on an outstanding felony arrest warrant for Possession with Intent to
Distribute Cocaine and Carrying a Concealed Weapon, and his home located at
2151S. 18th Street, Milwaukee, Wisconsin, was searched. Law enforcement located
the following items during the search: approximately $4,000 in U.S. Currency, two
pistols and a rifle, approximately 500 grams of cocaine, three cellular telephones,
approximately 20 grams of marijuana, and packaging materials including bags and
a vacuum sealer. Two of the cellular telephones were identified with cellular
telephone numbers (414) 704-8749 and (414) 232-9041.

71. During the search and arrest of RODRIGUEZ, a female identified as

Anahi Roberto was found to be in the residence with RODRIGUEZ. Roberto stated

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to case agents that she was RODRIGUEZ girlfriend and identified her cell phone
number as (414) 704-0825.

72. Based upon the pen register data on PEREZ III’s cellular telephones

((336) 837-5892) and (626) 733-2083), on February 6, 2020, the following occurred:

a. (336) 837-5892 attempted to contact RODRIGUEZ at (414) 232-
9041 twenty times between 7:24 a.m: and 9:10 a.m. via voice call;

b. (626) 733-2083 attempted to contact RODRIGUEZ at (414) 232-
9041 eight times between 9:14 a.m. and 10:00 a.m., seven of which were voice calls
and one was a text message;

c. (414) 704-0825 (RODRIGUEZ girlfriend) contacted (626) 733-
2083 at approximately 10:37 a.m. and again at 10:40 a.m. via voice calls.

73. On that same day—February 6, 2020—PEREZ III changed both of the
above-referenced telephone numbers to (810) 213-2750 and (626) 733-6730 (the
“6730 Phone”). However, he kept the same cellular devices for both new phone
numbers.

74. Despite the telephone number change on February 6, 2020, on
February 11, 2020, one of the new phone numbers ((310) 213-2750) was no longer
used to make outgoing calls. Case agents performed a common call analysis using
pen/trap data to determine that PEREZ III began using telephone number (414)
499-1861 (the “1861 Phone”). The 1861 Phone is believed to be a replacement phone
for (810) 213-2750. The 1861 Phone was activated and first used on February 11,

2020.
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H. Title II] Wiretap Authorization and Contemporaneous
Surveillance.

75. -On March 19, 2020, United States District Judge Lynn Adelman
issued a court order authorizing the initial interception of wire and electronic
communications over the 6730 Phone, used by PEREZ III. Case agents began
intercepting wire and electronic communications over the 6730 Phone on March 20,
2020.

76. . Intercepted communications over the 6730 Phone, as well as
contemporaneous surveillance of DTO members, has revealed that the DTO uses
various criminal associates to receive and retrieve packages delivered by Fed Ex,
DHL, and UPS. The Fed Ex and UPS packages are believed to contain controlled
substances based upon the way in which PEREZ III distances himself from the
packages by measures that include using aliases as the recipient, shipping the

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DTO associates’
residences), carefully tracking the packages, and conducting counter surveillance
around the time packages are delivered.

77. For ex
delivered at least 9 separate packages to at least 5 different DTO associated
addresses, including the residences of MICHELE HART, PEREZ JR., JOSE
ALVARADO, MA YANG, and MERCEDES HERBERT GONZALEZ.

78. During this investigation, PEREZ III has used and has had access to

numerous vehicles registered in his name, XINA’s name, and numerous family

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members of both PEREZ III and XINA. Moreover, since approximately November
2019, case agents have been attempting to track the movement of PEREZ III and
XINA through various court-authorized GPS tracking devices on five of their
vehicles, which have all been used to facilitate the DTO’s operation. PEREZ III
continues to change the vehicles he operates on a frequent basis.

79. Similarly, during this investigation, PEREZ III has used numerous
telephone numbers, and has used multiple telephones at the same time.
Interceptions over the 6730 Phone have confirmed PEREZ III’s current use of
multiple phones, including at least one phone number that has yet to be identified.®
Case agents believe that PEREZ IIT is using at least one other phone in addition to
the 6730 Phone and the 1861 Phone, based on the following:

a. On March 21, 2020, case agents intercepted a voice call between
PEREZ III and XINA over the 6730 Phone. During this call with XINA over his
6730 Phone, PEREZ II] is heard answering another phone call stating “’mma call
you back. ’m right here [U/I] with my lady man.” Pen register records for the 1861

Phone do not show an incoming call at the time of interception on the 6730 Phone,

 

3 Interceptions over the 6730 Phone have confirmed that PEREZ III is using the
1861 Phone. For example, on March 22, 2020, at 8:46:08 p.m., case agents intercepted a
voice call between PEREZ UT and an unknown male over the 6730 Phone. During this call,
a phone is heard ringing in the background. PEREZ III then states, “Hold on, let me answer
this.” While on the phone with the unknown male on the 6730 Phone, in the background,
PEREZ III is heard saying “Hello?” and “Hey, let me call you back dude.” The pen register
for the 1861 Phone during this time frame showed an incoming call at 8:46:51 p.m. from a
prepaid phone, indicating that PEREZ I] is currently using the 1861 Phone. PEREZ IITs
use of the 1861 Phone has also been confirmed by positional data.

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indicating that PEREZ III is using at least one other phone in addition to the 6730
Phone and the 1861 Phone.

b. On March 30, 2020, PEREZ III, using the 6730 Phone, received
an incoming call from XINA, using (626) 629-9932. During this conversation, XINA
questioned PEREZ III about a telephone number PEREZ III had in his phone for an
unknown female. PEREZ III stated, “Babe I ain’t got nothing to hide. You think if I
was hiding something, why would I leave my phone there babe. That be stupid as
fuck dawg.” The conversation continues and PEREZ III later states, “’m saying
though, I know, but Ill tell you when I get home but, you got the passes to all my
phones. I leave shit there comfortably, you feel me?” PEREZ III later states, “Nah,
I tell you I got a couple of random calls on both of them.” PEREZ III again stated,
“If it was anything, why would I leave my phones there, come on now.” Case agents
believe based on this conversation that PEREZ III has at least two other phones in
addition to the 6730 Phone because he was talking over the 6730 Phone while he
referred to “all [his] phones” and asked “why would I leave my phones there.”

c. While conducting surveillance on April 6, 2020, case agents
observed PEREZ III talking on a cellular telephone. A call analysis for the 6730
Phone and the 1861 Phone did not reveal any incoming or outgoing calls during or
surrounding this observation of PEREZ III using a cellular telephone. Further, the
positional data for XINA’s current telephone was pinging at a separate and

unrelated address, ruling out the possibility that PEREZ III was using XINA’s

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phone. Therefore, case agents believe that PEREZ ITI is using at least one other
cellular device in addition to the 6730 Phone and 1861 Phone.

d. Also on April 6, 2020, at approximately 6:00 p.m., PEREZ III
was observed on a cellular phone via remote surveillance at PEREZ JR.’s house, 420
East Morgan Avenue in Milwaukee. Once again, a call analysis for the 6730 Phone
and the 1861 Phone did not reveal any incoming or outgoing calls during or
surrounding this observation of PEREZ III using a cellular telephone, solidifying
case agents belief that PEREZ II] is using at least three cellular telephones.

80. - Case agents have conducted extensive physical and remote
surveillance on PEREZ III since interceptions of the 6730 Phone began. On several
occasions, Fed Ex has delivered packages to various DTO residences, however the
pen registers on both the 6730 Phone and the 1861 Phone do not show any activity.
Based on their training, experience, and knowledge of this investigation, case
agents believe that DTO members are communicating with PEREZ III on an
unidentified phone based on the coordinated efforts of DTO members to deliver,
retrieve, and transport other packages.

81... Based on the interceptions and surveillance in this case, case agents
believe that PEREZ III is using at least three cellular devices. Importantly, PEREZ
III is observed using an unidentified telephone during and around activities that
relate solely to the DTO, i.e., delivery and retrieval of packages from various
residences in the City of Milwaukee. Further, based on training and experience, I

know that drug traffickers often compartmentalize their use of cellular phones so as

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to insulate themselves from law enforcement detection as well as to carry on their
trafficking activities when and if it becomes necessary to change a singular
telephone number. Therefore, case agents are requesting this warrant to identify
the telephone numbers used by PEREZ III to further determine the full scope and
structure of the DTO.

MANNER OF EXECUTION

 

82. . In my training and experience, I have learned that cellular phones and
other cellular devices communicate wirelessly across a network of cellular
infrastructure, including towers that route and connect individual communications.
When sending or receiving a communication, a cellular device broadcasts certain
signals to the cellular tower that is routing its communication. These signals
include a cellular device’s unique identifiers.

83. . To facilitate execution of this warrant, law enforcement may use an
investigative device that sends signals to nearby cellular devices, including the
Target Cellular Devices, and in reply, the nearby cellular devices will broadcast
signals that include their unique identifiers. The investigative device may function
in some respects like a cellular tower, except that it will not be connected to the
cellular network and cannot be used by a cell to communicate with others. Law
enforcement will use this investigative device when they have reason to believe that
LOUIS PEREZ III is present. Law enforcement will collect the identifiers emitted
by cellular devices in the immediate vicinity of the Target Cellular Devices when

the subject is in multiple locations and/or multiple times at a common location and

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use this information to identify the Target Cellular Devices, as only the Target
Cellular Devices’ unique identifiers will be present in all or nearly all locations.
Once investigators ascertain the identity of the Target Cellular Devices, they will
cease using the investigative technique. Because there is probable cause to
determine the identity of the Target Cellular Devices, there is probable cause to use
the investigative technique described by the warrant to determine the identity of
the Target Cellular Devices.

84. The investigative device may interrupt cellular service of cellular
devices within its immediate vicinity. Any service disruption will be brief and
temporary, and all operations will attempt to limit the interference cellular devices.
Once law enforcement has identified the Target Cellular Devices, it will delete all
information concerning non-targeted cellular devices. Absent further order of the
court, law enforcement will make no investigative use of information concerning
non-targeted cellular devices other than distinguishing the Target Cellular Devices
from all other devices.

AUTHORIZATION REQUEST

85. Based on the foregoing, I request that the Court issue the proposed
search warrant, pursuant to Federal Rule of Criminal Procedure 41. The proposed
warrant also will function as a pen register order under 18 U.S.C. § 3123.

86. I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of
Criminal Procedure 41()(3), that the Court authorize the officer executing the

warrant to delay notice until 120 days from the end of the period of authorized

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surveillance. This delay is justified because there is reasonable cause to believe
that providing immediate notification of the warrant may have an adverse result, as
defined in 18 U.S.C. § 2705. Providing immediate notice to the person carrying the
Target Cellular Devices would seriously jeopardize the ongoing investigation, as
such a disclosure would give that person an opportunity to destroy evidence, change
patterns of behavior, notify confederates, and flee from prosecution. See 18 U.S.C.

§ 3103a(b)(1)... There is reasonable necessity for the use of the technique described
above, for the reasons set forth above. See 18 U.S.C. § 3108a(b)(2).

87. .. I further request that the Court authorize execution of the warrant at
any time of day or night, owing to the potential need to identify the Target Cellular
Devices outside of daytime hours.

88... Asearch warrant may not be legally necessary to compel the
investigative technique described herein. Nevertheless, I hereby submit this

warrant application out of an abundance of caution.

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ATTACHMENT A
This warrant authorizes the use of the electronic investigative technique
described in Attachment B when the officers to whom it is directed have reason to
believe that LOUIS PEREZ III is present at certain locations, including, but not
limited to:
1653 S. 57th Street, West Allis, Wisconsin
2100 W. Pierce Street, Milwaukee, Wisconsin

420 E. Morgan Avenue, Milwaukee, Wisconsin

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ATTACHMENT B

The “Target Cellular Devices” are the cellular device or devices carried by
LOUIS PEREZ III. Pursuant to an investigation of LOUIS PEREZ III for a
violation of 21 U.S.C. §§ 841(a)d) and 846 (distribution of controlled substances and
conspiracy to distribute controlled substances); 21 U.S.C. § 843(b) (unlawful use of
communications facilities); and 18 U.S.C. §§ 1956 and 1957 daundering of monetary
instruments and conspiracy to do so), this warrant authorizes the officers to whom
it is directed to identify the Target Cellular Devices by collecting radio signals,
including the unique identifiers, emitted by the Target Cellular Devices and other
cellular devices in its vicinity for a period of thirty days, during all times of day and
night.

Absent further order of a court, law enforcement will make no affirmative
investigative use of any identifiers collected from cellular devices other than the
Target Cellular Devices, except to identify the Target Cellular Devices and
distinguish them from the other cellular devices. Once investigators ascertain the
identity of the Target Cellular Devices, they will end the collection, and any
information collected concerning cellular devices other than the Target Cellular
Devices will be deleted.

This warrant does not authorize the interception of any telephone calls, text
messages, or other electronic communications, and this warrant prohibits the
seizure of any tangible property. The Court finds reasonable necessity for the use of

the technique authorized above. See 18 U.S.C. § 3103a(b)(2).

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